Case 1:19-cv-09297-AT Document 36 Filed 11/+—e—sege==o
USDC SDNY

DOCUMENT
ELECTRONICALLY FILED

  

MANGO & IACOVIELLO, L

ATTORNEYS AT Law

DOC #:
14 PENN Praza, Suite 1919 DATE FILED: 11/4/2020

New Yorx, New York 10122
TELE PHONE: (212) 695-5454 Facsimice: (212)

THE PENNSYLVANIA BuILDING

ANTHONY G. MANGO

www.mandiaw.com
amango@mandilaw.com LONG !SLANOD OF Fice:
600 Oip Country Road
October 7, 2020 Garnen City, New York 1/530

(S16) 333 4033

VIA ECF

The Honorable Analisa Torres

United States District Court, S.D.N.Y.
40 Foley Square

New York, New York 10007

Re: Choror et al y. Abitino’s 49" Street Corp. etal
19-cv-09297

Dear Judge Torres:

We are the attomeys for the Defendants in the above referenced matter. I write on consent of all
parties to respectfully request an adjournment of the pretrial conference dated November 5, 2020,
as well as the pending mediation scheduled for October 15, 2020, for the reasons set forth herein.

Unfortunately, as Your Honor may be aware, the situation with restaurants in NYC has not
changed in any impactful way. As of September 30, restaurants were permitted to resume 25%
of indoor dining. For small pizzeria restaurants such as my clients’ locations, the 25% capacity
does virtually nothing for them. My clients have advised that it is not even worth opening indoor
at 25% when you consider the food costs, staffing, and overhcad required to open. Anything
short of 50% indoor dining does not move the needle for the vast majority of restaurants in NYC,
including but not limited to my clients. That being said, my clients are not able to proceed with
any meaningful mediation at this point, as their financial situation has not gotten better; in fact, it
has gotten worse, since landlords still cxpect rent payments as they are entitled to receive, yet
month over month of compounding 75% - 90% revenue losses continue to exact a harsh toll on
my clients’ businesses.

Given thatthere is simply no ability on the part of Defendants to engage in any meaningful
settlement discussions at this time, we respectfully request an adjournment of the mediation to a
date in early 2021, to be followed by the initial pretrial conference before Your Honor.

The Mediation Office has been made aware of the parties’ request in this regard and awaits the
direction of the Court as to adjourning the mediation of this matter.

GRANTED. The mediation shall be rescheduled to a date in January 2021. The
initial pretrial conference scheduled for November 5, 2020, is ADJOURNED to
February 9, 2021, at 11:00 a.m. By February 2, 2021, the parties shall submit a
joint letter and proposed case management plan.

SO ORDERED. O}-

Dated: November 4, 2020 ANALISA TORRES
New York, New York United States District Judge
